      Case 2:16-cr-00106-KJM Document 114 Filed 10/18/19 Page 1 of 1


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 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                  )     Case №: 2:16-cr-00106 KJM
                                                )
 9                  Plaintiff,                  )
                                                )                   ORDER
10           vs.                                )              APPOINTING COUNSEL
                                                )
11   PAMELA DAWN PIERSON,                       )
                                                )
12                  Defendant.                  )
                                                )
13
14          The Federal Defender has separately noted that counsel is or can be appointed pursuant to
15   General Order 595. The Federal Defender has also determined it has a conflict. CJA Panel
16   attorney Erin Radekin is hereby appointed effective October 10, 2019, the date the Office of the
17   Federal Defender contacted her.
18   DATED: October 17, 2019.
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                                                    UNITED STATES DISTRICT JUDGE
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